

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. WR-54,965-11; 54,965-12; 54,965-13






EX PARTE DAVID RASHEED ALI, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NOS. 9564-A-3; 9565-A-3; 9566-A-3 IN THE 77TH  DISTRICT COURT


FROM LIMESTONE COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery, arson, and criminal mischief over $1500, and sentenced to 20 years' imprisonment in each
case.  The Tenth Court of Appeals affirmed his convictions. Ali v. State, Nos. 10-03-086-CR; 10-03-087-CR; 10-03-088-CR (Tex. App.--Waco 2003, no pet.). 

	In all three cases, applicant contends that his plea was involuntary because his attorney had
an actual conflict of interest, he failed to investigate, failed to explain the burden of proof, and
pressured applicant to plead guilty despite his claims of innocence, simply because he is a Muslim
and the 9/11 terror attacks had recently occurred .  

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court
may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In the appropriate case, the
trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether applicant is indigent. If
applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an attorney
to represent applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	  The trial court shall make findings of fact and conclusions of law in regard to applicant's
claim that his plea was involuntary.   The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 




Filed:	October 11, 2006

Do not publish


